      Case 2:19-cv-02137-KHV-GEB Document 49 Filed 11/22/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

DAVID BEATY and DB SPORTS, LLC,                         )
                                                        )
               Plaintiffs,                              )
                                                        )    Case No. 2:19-CV-02137
v.                                                      )
                                                        )
KANSAS ATHLETICS, INC.,                                 )
                                                        )
               Defendant.                               )

       NOTICE OF VIDEOTAPED DEPOSITION OF PLAINTIFF DAVID BEATY

       PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure 30,

Defendant Kansas Athletics, Inc. will take the deposition upon oral examination of David Beaty,

commencing at 9:00 a.m. on December 17, 2019, at the law offices of Bryan Cave Leighton

Paisner LLP, 1200 Main Street, Suite 3800, Kansas City, Missouri 64105. The deposition will

be recorded by stenographic means before a certified court reporter authorized to take such

depositions and administer oaths, and it will also be recorded by videotape. The deposition will

continue from day to day until completed, and it will be taken for all purposes contemplated by

the Federal Rules of Civil Procedure, including for use as evidence at trial.




                                               1 of 3
Case 2:19-cv-02137-KHV-GEB Document 49 Filed 11/22/19 Page 2 of 3




                             Respectfully submitted,

                             BRYAN CAVE LEIGHTON PAISNER LLP

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                             ATTORNEYS FOR             DEFENDANT   KANSAS
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                              2 of 3
      Case 2:19-cv-02137-KHV-GEB Document 49 Filed 11/22/19 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I certify that on this 22nd day of November, 2019, a copy of the foregoing was filed with
the Court’s electronic filing system, which sent notice of this filing to the following counsel of
record:

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                                              3 of 3
